Case 1:21-cv-00131-JL   Document 289-9   Filed 02/04/25   Page 1 of 4




                  EXHIBIT I
              Case 1:21-cv-00131-JL               Document 289-9         Filed 02/04/25      Page 2 of 4
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From:                                  Kellie Otis <Kellie_Otis@nhd.uscourts.gov>
Sent:                                  Thursday, June 15, 2023 9:04 AM
To:                                    hcooper_toddweld.com; Suzanne Elovecky; Cacace, Joseph; kklaus@maddinhauser.com;
                                       Neil Nicholson; O'Connell, Scott (BOS - X75860)
Subject:                               [EXTERNAL] FW: URGENT - Re: Hearing in Case de Laire v. Voris (1:21-cv-00131)



Good morning Counsel,

Judge Laplante instructed me to forward counsel the email I received this morning from Marc Balestrieri. Please see
below.

Thank you,

Kellie Otis, Deputy Clerk/Case Manager
US District Court for District of NH
55 Pleasant Street, Rm 110
Concord, NH 03301
(603)225-1473
Kellie otis(5)nhd.uscourts.gov



From: Marc Balestrieri <balestrieri.marc@gmail.com>
Sent: Thursday, June 15, 2023 8:56 AM
To: Kellie Otis <Kellie_Otis@nhd.uscourts.gov>
Subject: Re: URGENT - Re: Hearing in Case de Laire v. Voris (l:21-cv-00131)

CAUTION - EXTERNAL:



Thank you.

On Thu, Jun 15, 2023 at 08:53 Kellie Otis <Kellie Otis@nhd.uscourts.gov> wrote:


 Good morning Mr. Balestrieri,




 I will pass the information along to chambers.




Thank you,




Kellie Otis, Deputy Clerk/Case Manager


US District Court for District of NH
                                                              l
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55 Pleasant Street, Rm 110

Concord, NH 03301

(603) 225-1473

Kellie otis(5)nhd.uscourts.gov




From: Marc Balestrieri <balestrieri.marc(5)gmail.com>
Sent: Thursday, June 15, 2023 8:18 AM
To: Jadean Barthelmes <Jadean Barthelmes(g)nhd.uscourts.gov>; Kellie Otis cKellie Otis(5)nhd.uscourts.gov>
Subject: URGENT - Re: Hearing in Case de Laire v. Voris (l:21-cv-00131)




CAUTION - EXTERNAL:




Dear Ms. Otis,




Good morning.




I write to advise respectfully Judge LaPlante that I am currently traveling to appear before him in court this morning
regarding the above-referenced case.




As I informed you some time ago, I have had and continue to have the greatest difficult in finding a tort lawyer willing
to assist me in drafting and filing the Motions to Vacate the Default Judgment and Dismiss the suit against me. As a
result I have been unable to file.




I most respectfully communicate to the Court that I wish to "have my day in Court" to defend myself against the false
assertions of fact and claims that have been asserted by more than one party regarding me. Consequently, for the sake
of the truth, I am opposed to the granting of the Motion for Summary Judgment.




I respectfully request to be admitted to the hearing scheduled for this morning in the matter before Judge LaPlante and
any sentencing before I may file and before Judge LaPlante may consider the merits of my positions.


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As a person having interest in the outcome of the hearing, I respectfully request the appointment by the Court of an
advocate to assist me in my defense and intended filing of the above-indicated Motions.




So that I may learn what is transpiring in the case, I respectfully request permission from Judge LaPlante to be present
during the hearing in the audience, and if permissible, an opportunity to speak with him briefly sometime today about
what I need/can do to secure my defense.




Due to United Airlines' delays exceeding 3 hours yesterday, I am unable to appear before 10:45 AM ET this morning, for
which I apologize to the Court.




Thanking you for you're timely assistance in transmitting this email to the Honorable Judge, I remain,




Very truly yours,




Marc Balestrieri

A.S.: (800)933-5193


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 attachments or clicking on links.




CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




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